Case 0:08-cr-60165-WPD Document 88 Entered on FLSD Docket 07/30/2008 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

               CASE NO. 08-60165-CR-DIMITROULEAS/Rosenbaum



  UNITED STATES OF AMERICA,

             Plaintiff,

  v.

  ANTHONY DEHANEY, et al.

             Defendants.

                                AMENDED ORDER

               THIS CAUSE is before the Court on the Federal Public

  Defender's Motion to Withdraw (DE 84) as to defendant Anthony

  Dehaney.   The previous order reflected the year as 2006 instead of

  2008.   Being fully advised, it is hereby
             ORDERED AND ADJUDGED that the motion is GRANTED.             The

  Federal Public Defender's Office is hereby released from any

  further duties in this cause.         Substitute CJA counsel has been

  appointed by separate order.

             DONE AND ORDERED at Fort Lauderdale, Florida, this 29th

  day of July, 2008.




  Copies to:

  AUSA Jeffrey Kay (FTL)
  Barry Butin, Esq.
  AFPD Chantel Doakes (FTL)
